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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


ALEXA R. NEMETH,                     )
                                     )
     Plaintiff,                      )
                                     )            CIVIL ACTION NO.
     v.                              )              3:19cv715-MHT
                                     )                   (WO)
AUBURN UNIVERSITY,                   )
                                     )
     Defendant.                      )

                                  ORDER

    It is ORDERED as follows:

    (1) Plaintiff’s unopposed motion for extension of

time (doc. no. 51) is granted.

    (2) The uniform scheduling order (doc. no. 43) is

modified in the following respects:

           (A)   The      deadline       for     completing       discovery,

currently    set    for    November        2,    2020,     is   extended   to

December 15, 2020.

           (B)     The     deadline        for      filing        dispositive

motions,    currently       set      for        December     1,    2020,   is

extended to January 15, 2021.
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      (C) All other deadlines are unchanged.

DONE, this the 6th day of November, 2020.

                                /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
